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      Attorney for Plaintiff, Erick Rocha Parra
  7

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  9

 10                          UNITED STATES DISTRICT COURT
 11                        CENTRAL DISTRICT OF CALIFORNIA
 12

 13
      ERICK ROCHA PARRA,                      )    Case No.: 8:18-cv-00607
 14                                           )
 15                 Plaintiff,                )    FIRST AMENDED COMPLAINT
            vs.                               )    FOR DAMAGES
 16                                           )
 17   COUNTY OF ORANGE, and R.                )    1) Excessive Use of Force
      SISON and DOES 1 through 5, Deputy )            (42 U.S.C. § 1983)
 18   Sheriffs for the Orange County Sheriff’s)
 19   Department,                             )    2) Battery
                                              )
 20                 Defendants.               )    3) Violation of Bane Act
 21                                           )       (Cal. Civil Code § 52.1)
                                              )
 22                                           )    DEMAND FOR JURY TRIAL
 23                                           )
                                              )
 24                                           )
 25                                           )
 26

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                       First Amended Complaint for Damages, Demand for Jury Trial
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  1 Plaintiff, Erick Rocha Parra, alleges:

  2
                                        INTRODUCTION
  3

  4
            1. Plaintiff seeks to recover damages for the violation of his federal and state

  5 civil rights resulting from the beating and injuries he suffered at the Orange County

  6
      Men’s Jail, Intake/Release Center (“IRC”) on May 31, 2016. Plaintiff was arrested for
  7

  8 two non-violent misdemeanors on May 30, 2016, and transported to the IRC for

  9 intake and booking. Plaintiff was cooperative and complied with all directives during

 10
      the booking process. Shortly after Plaintiff’s booking was completed, Plaintiff was
 11

 12 brutally and inexplicably attacked without lawful justification by the Orange County

 13 Sheriff’s deputy who conducted his booking. There were at least two other Orange

 14
      County deputy sheriffs who were present during Plaintiff’s booking and beating that
 15

 16 did nothing to prevent or mitigate Plaintiff’s beating even though they had the

 17 opportunity to do so. Plaintiff suffered a fractured arm, injuries to his left shoulder,

 18
      back and head, and extreme physical and emotional pain and suffering. The excessive
 19

 20 force used against Plaintiff was consistent with a widespread pattern and practice of

 21 excessive use of force used by deputies against detainees and prisoners, which was

 22
      known to the Orange County Sheriff’s Department, and its supervisory personnel.
 23

 24 Despite the high number of injuries inflicted on detainees and prisoners due to

 25 excessive use of force by deputies, the Orange County Sheriff’s Department was

 26
      deliberately indifferent to the constitutional rights of detainees and prisoners by
 27

 28
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  1 continuing its custom, practice, and policy of inadequate hiring, training, supervision,

  2
      disciplining of deputies who used excessive force against detainees and prisoners.
  3

  4
      This deliberate indifference by the Orange County Sheriff’s Department was also the

  5 moving force in causing Plaintiff’s deprivation of civil rights and damages.

  6
                                  JURISDICTION AND VENUE
  7

  8         2. Plaintiff sues for violation of his civil rights under 42 U.S.C. § 1983 and the

  9 Fourteenth Amendments to the United States Constitution, as well as California law.

 10
      This Court has jurisdiction of Plaintiff’s federal civil rights claims pursuant to 28
 11

 12 U.S.C. §§ 1331, 1343 (a) (3). This Court has supplemental jurisdiction over Plaintiff’s

 13 state law claims pursuant 28 U.S.C. § 1367 (a) because they are substantially related

 14
      to Plaintiff’s federal claims.
 15

 16         3. Venue is proper in Central District of California pursuant to 28 U.S.C. §

 17 1391 because all of the events giving rise to Plaintiff’s claims occurred in the County

 18
      of Orange.
 19

 20                                           PARTIES
 21         4. Plaintiff Erick Rocha Parra is male of Hispanic descent born on 1995, and
 22
      he is 22 years of age. Plaintiff is, and at all times herein was, a resident of the County
 23

 24 of Orange, California. Plaintiff was a pretrial detainee in the IRC located at 550 N.

 25 Flower Street Santa Ana, California, when the events giving rise to his claims

 26
      occurred.
 27

 28
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  1         5. Defendant County of Orange (“COUNTY”) is a county in the State of
  2
      California. COUNTY by and through the Orange County Sheriff’s Department
  3

  4
      (“OCSD”) manages and operates the Orange County jail facilities.

  5         6. The Sheriff of Orange County is a constitutionally elected official. The
  6
      Sheriff of Orange County is, and at all times relevant herein was, responsible for
  7

  8 establishing policies for the Orange County jail facilities, and the direction and

  9 performance of deputies and staff at the OCSD, including, the booking and releases of

 10
      inmates, and the hiring, training, supervising, and disciplining of deputies and staff at
 11

 12 the OCSD jail facilities.

 13         7. On the federal claims, COUNTY is liable to Plaintiff under 42 U.S.C. §
 14
      1983, and the Fourteenth Amendment to the United States Constitution because of the
 15

 16 policies, practices, and customs of the OCSD, including the inadequate hiring,

 17 training, supervising, and disciplining of its deputies, and the toleration of the

 18
      excessive use of force used against pretrial detainees and prisoners by its deputies.
 19

 20 These policies, practices, and customs were the moving force that deprived Plaintiff

 21 of his right not to be subjected to excessive use of force without due process of law,

 22
      and his resulting injuries and damages.
 23

 24         8. On the state law claims, COUNTY is also liable for Plaintiff’s injuries and
 25 damages caused by its employees under the theory of respondeat superior. Liability

 26
      against COUNTY for injuries caused by the acts and omissions of its employees is
 27

 28
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  1 based on California Government Code §§ 815.2 and 820, California Civil Code § 52.1

  2
      and California Penal Code § 242.
  3

  4
            9. Defendant R. SISON (“SISON”) and Does 1 through 5 are, and at all times

  5 relevant herein were, employees of the OCSD, employed as deputy sheriffs at the

  6
      Orange County Men’s Jail, Intake/Release Center. SISON and Does 1 through 5 are
  7

  8 sued in their individual capacity for their own culpable actions or inactions.

  9         10. Plaintiff does not know the true names and capacities of defendants sued
 10
      herein as DOES 1 through 5, inclusive, and therefore sue these defendants by such
 11

 12 fictitious names. Plaintiff will seek leave to amend this complaint to allege their true

 13 names and capacities when ascertained. Plaintiff is informed and believes, and thereon

 14
      alleges, that each of the fictitiously named defendants is responsible in some manner for
 15

 16 the occurrences herein alleged and that Plaintiff's injuries and damages as herein alleged

 17 were proximately caused by their wrongful and illegal conduct.

 18
            11. In doing the actions and inactions hereinafter alleged, SISON, and Does 1
 19

 20 through 5, were acting within the course and scope of their agency and employment

 21 with the OCSD, and under color of law.

 22
                    EXHAUSTION OF ADMINISTRATIVE REMEDIES
 23

 24         12. Before filing this 42 U.S.C. § 1983 action for the injuries and damages
 25 herein alleged, Plaintiff exhausted available administrative remedies by filing a

 26
      “Personnel Complaint Form” with the OCSD on July 18, 2017, in compliance with 42
 27

 28
                                                  5
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  1 U.S.C. § 1997e (a). The OCSD failed to act upon Plaintiff’s complaint. A true and

  2
      correct copy of the Personnel Complaint Form is attached hereto as EXHIBIT 1.
  3

  4
            13. Before filing this action for the injuries and damages herein alleged,

  5 Plaintiff exhausted his administrative remedies by timely presenting his Claim for

  6
      Damages to the Clerk of the Board of Supervisors for the County of Orange on
  7

  8 November 22, 2017, in compliance with California Government Code §§ 905, 910,

  9 910.2, and 911.2. A true and correct copy of Plaintiff’s Claim for Damages is attached

 10
      hereto as EXHIBIT 2. Defendant County of Orange failed to act on the claim within
 11

 12 a period of 45 days after presentation, and the claim was thus deemed rejected under

 13 Government Code § 912.4 at the expiration of the 45 day period on January 6, 2017.

 14
                                 FACTUAL ALLEGATIONS
 15

 16         14. On Memorial Day, May 30, 2016, at approximately 6:30 p.m., Plaintiff

 17 was arrested by City of Orange Police Officers for two non-violent misdemeanors. He

 18
      was later transported to the IRC for booking. On May 31, 2016, at approximately 1
 19

 20 a.m., Plaintiff had a casual conversation with an OCSD deputy sheriff handling his

 21 intake and booking who he believes is SISON. Plaintiff had noticed that SISON was

 22
      performing his duties with other detainees in a rude and aggressive manner. Even so,
 23

 24 Plaintiff was cooperative with SISON. However, after the booking process was

 25 completed, SISON became more rude and aggressive and brutally attacked Plaintiff

 26
      for absolutely no reason. While Plaintiff was standing nearby, SISON grabbed
 27

 28
                                                 6
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  1 Plaintiff’s arms and pulled and twisted them high behind his back with great force

  2
      while at the same time pushing Plaintiff forward and downward. This caused Plaintiff
  3

  4
      to fall hard to the floor, face first, without being able to break his fall. While Plaintiff

  5 was on the floor, SISON came down hard with his knees onto Plaintiff’s back, forcing

  6
      his head and face to the floor. At this same instant, SISON continued to forcefully
  7

  8 pull and twist Plaintiff’s arms behind his back. During this attack, Plaintiff heard his

  9 left arm break and felt excruciating pain. All Plaintiff did in response to this attack

 10
      was to yell at SISON that he could not breathe, and to stop hurting him.
 11

 12         15. Two male deputy sheriffs, Doe 2 and Doe 3, who were nearby during the

 13 encounter between SISON and Plaintiff, approached Plaintiff while he was on the

 14
      floor in extreme pain. Plaintiff told Doe 2 and Doe 3 that his arm was broken, that he
 15

 16 was in extreme pain, and that he needed to be taken to the hospital for medical

 17 treatment. Plaintiff also told Doe 2 and Doe 3 that he wanted the badge number of the

 18
      OCSD deputy sheriff that broke his arm. They told him, no, and they also told SISON
 19

 20 to leave the area. Soon thereafter Plaintiff was transported to the hospital for medical

 21 treatment. After receiving medical treatment at the hospital Plaintiff was returned to

 22
      the IRC. Later in the day, Plaintiff was released from the IRC on his own
 23

 24 recognizance.

 25

 26

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  1         16. Plaintiff is informed and believes, and thereon alleges, that Doe 2 and Doe
  2
      3, failed to prevent SISON from physically striking Plaintiff about his body and
  3

  4
      breaking Plaintiff’s arm even though they had the opportunity to do so.

  5         17. Plaintiff was cooperative during the entire booking process. Plaintiff did
  6
      physically resist or say or do anything to SISON or anyone else to provide a reason
  7

  8 for his brutal beating. Plaintiff was never combative toward SISON or any other

  9 OCSD deputy sheriff or jail personnel. Plaintiff was not charged with any violation of

 10
      the law for events that occurred during his booking process.
 11

 12                               FIRST CLAIM FOR RELIEF

 13               Excessive Force (42 U.S.C. § 1983) Fourteenth Amendment
 14
                                     (Against All Defendants)
 15

 16         18. Plaintiff realleges each and every allegation contained in paragraphs 1

 17 through 7, 9 through 12, and 14 through 17, as though set forth in full.

 18
            19. In acting as alleged in paragraph 14, above, i.e., grabbing Plaintiff’s arms
 19

 20 and pulling and twisting them high behind Plaintiff’s back with great force while at

 21 the same time pushing Plaintiff hard to the floor, forcefully kneeing Plaintiff’s back,

 22
      forcefully pushing his head and face to the floor, and breaking Plaintiff’s left arm, all
 23

 24 without justification, SISON violated Plaintiff’s rights under the Fourteenth

 25 Amendment of the United States Constitution to be free from the excessive force and

 26
      infliction of punishment without due process of law.
 27

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  1         20. In failing to act as alleged in paragraphs 14, 15, and 16, above, i.e., failing
  2
      to prevent SISON from physically striking Plaintiff about his body and breaking
  3

  4
      Plaintiff’s left arm even though they had the opportunity to do so, Doe 2 and Doe 3

  5 violated Plaintiff’s rights under the Fourteenth Amendments of the United States

  6
      Constitution to be free from the excessive force and infliction of punishment without
  7

  8 due process of law.

  9         21. Plaintiff is informed and believes, and thereon alleges, that for many years
 10
      before May 31, 2016, a substantial number of OCSD deputy sheriffs including
 11

 12 SISON, had used, and continued to use unnecessary and excessive force against

 13 pretrial detainees and prisoners without lawful justification.

 14
            22. Plaintiff is informed and believes, and thereon alleges, that for many years
 15

 16 before May 31, 2016, the COUNTY, OCSD, OCSD policymakers, and OCSD

 17 supervisory personnel knew, or in the exercise of reasonable care should have known

 18
      that a substantial number of OCSD deputy sheriffs, including SISON, had used, and
 19

 20 continue to and use unnecessary and excessive force against pretrial detainees and

 21 prisoners without lawful justification.

 22
            23. Plaintiff is informed and believes, and thereon alleges, that for many years
 23

 24 before May 31, 2016, and up to the present date, the COUNTY, OCSD, OCSD

 25 policymakers, and OCSD supervisory personnel:

 26

 27

 28
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  1         a) Failed to provide adequate education, training, and supervision to OCSD
  2
      deputy sheriffs on the constitutional limits of the use of force on pretrial detainees and
  3

  4
      prisoners;

  5         b) Failed to adequately hire, discipline and supervise OCSD deputy sheriffs
  6
      involved in excessive use of force incidents;
  7

  8         c) Failed to adequately investigate complaints against OCSD deputy sheriffs

  9 alleging excessive use of force on pretrial detainees and prisoners;

 10
            d) Failed to have adequate video and audio surveillance cameras in the jail
 11

 12 facilities as a method to prevent excessive use of incidents, and to maintain safety for

 13 prisoners and staff;

 14
            e) Failed to practice and enforce proper reporting of, and investigation of,
 15

 16 excessive use of force incidents by OCSD deputy sheriffs within the jail facilities;

 17 and,

 18
            f) Failed to adequately discipline OCSD deputy sheriffs who have been found
 19

 20 to have deliberately concealed, or failed to disclose, information about a fellow

 21 OCSD deputy sheriff’s use of excessive force on pretrial detainees and prisoners.

 22
            24. As a result of the failures, omissions, and deliberate indifference, as
 23

 24 alleged in paragraph 23, above, COUNTY, OCSD, OCSD policymakers, and OCSD

 25 supervisory personnel, in effect, tolerated and tacitly approved the policy, practice,

 26

 27

 28
                                                 10
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  1 and custom of permitting OCSD deputy sheriffs to use excessive force against pretrial

  2
      detainees and prisoners without being held accountable.
  3

  4
            25. The COUNTY’s and OCSD’s policy, practice, and custom of permitting,

  5 tolerating, and condoning OCSD deputy sheriffs to use excessive force against

  6
      pretrial detainees and prisoners without being held accountable, and without due
  7

  8 process of law, caused SISON to use unnecessary, unreasonable, and excessive force

  9 against Plaintiff, and caused Doe 2 and Doe 3, not to prevent the use of excessive

 10
      force upon Plaintiff by SISON.
 11

 12         26. In doing the actions and inactions as alleged in paragraphs 18 through 25,

 13 above, Defendants and each of them, subjected or caused Plaintiff to be subjected to

 14
      excessive force and punishment without due process of law, in violation of the
 15

 16 Fourteenth Amendment to the Constitution of the United States.

 17         27. As a direct and proximate result of the wrongful actions and inactions of
 18
      Defendants, and each of them, Plaintiff was placed in great fear for his physical well-
 19

 20 being, and he suffered fright, emotional distress, and mental anguish.

 21         28. As a direct and proximate result of the wrongful actions and inactions of
 22
      Defendants, and each of them, Plaintiff was injured in his health, strength, and
 23

 24 activity, sustaining a fractured left arm, bruises, and contusions to his body, all of

 25 which caused him to suffer extreme physical and emotional pain, suffering and

 26

 27

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                                                 11
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  1 disability. As a result of these injuries, Plaintiff has suffered, and in the future, will

  2
      continue to suffer, general damages in the amount of $300,000.
  3

  4
            29. As a direct and proximate result of the wrongful actions and inactions of

  5 Defendants and each of them, Plaintiff incurred, and in the future, will continue to

  6
      incur medical and related expenses to his damage in the amount of $10,000.
  7

  8         30. As a direct and proximate result of the wrongful actions and inactions of

  9 Defendants and each of them, and Plaintiff was unable to work for several months

 10
      and thereby incurred a loss of wages in the amount $10,000.
 11

 12         31. In acting as alleged in this complaint, SISON acted knowingly, willfully,

 13 maliciously, oppressively, and with reckless disregard for Plaintiff’s safety and civil

 14
      rights. Plaintiff thereby seeks punitive and exemplary damages in the amount of
 15

 16 $100,000.

 17         32. As a further direct and proximate result of the wrongful conduct of
 18
      Defendants and each of them, Plaintiff has been compelled to incur attorney's fees and
 19

 20 other litigation costs to vindicate the violation of his constitutional rights and Plaintiff

 21 thereby requests an award of attorney's fees pursuant to 42 U.S.C. Section 1988,

 22
      according to proof.
 23

 24 /////

 25 /////

 26

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                                                 12
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  1                             SECOND CLAIM FOR RELIEF
  2
                                               Battery
  3

  4
                                 (Against SISON and COUNTY)

  5         33. Plaintiff realleges each and every allegation contained in paragraphs
  6
      1through 5, 8, 9, 11, 13, 14, and 17, of this complaint as though set forth in full.
  7

  8         34. After completion of Plaintiff’s booking at the IRC on May 31, 2016,

  9 SISON, the OCSD deputy sheriff who performed Plaintiff’s booking process, brutally

 10
      attacked Plaintiff for absolutely no reason. SISON grabbed Plaintiff’s arms and pulled
 11

 12 and twisted them high behind Plaintiff’s back with great force while at the same time

 13 pushing Plaintiff forward and downward. This caused Plaintiff to fall hard to the

 14
      floor, stomach and face first, without being able to break his fall. While Plaintiff was
 15

 16 on the floor, SISON came down hard with his knees onto Plaintiff’s back and

 17 forcefully pushing his head and face to the floor. At this same instant, SISON

 18
      continued to forcefully pull and twist Plaintiff’s arms behind his back. During this
 19

 20 attack, Plaintiff heard his left arm break and felt excruciating pain.

 21         35. In doing the acts as alleged in paragraph 34, above, SISON acted with the
 22
      intent to make harmful physical contact with Plaintiff’s person.
 23

 24         36. At no time did Plaintiff consent to this violent physical contact upon his
 25 person. At no time did Plaintiff agree to, or intend to engage in any mutual physical

 26
      combat with SISON.
 27

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  1         37. As a direct and proximate result of the wrongful actions of SISON,
  2
      Plaintiff was placed in great fear for his physical well-being and he suffered fright,
  3

  4
      emotional distress, and mental anguish.

  5         38. As a direct and proximate result of the wrongful actions of SISON,
  6
      Plaintiff was injured in his health, strength, and activity, sustaining a fractured left
  7

  8 arm, bruises, and contusions to his body, all of which caused him to suffer extreme

  9 physical and emotional pain, suffering, and disability. As a result of these injuries,

 10
      Plaintiff has suffered, and in the future, will continue to suffer, general damages in the
 11

 12 amount of $300,000.

 13         39. As a direct and proximate result of the wrongful actions SISON, Plaintiff
 14
      incurred, and in the future, will continue to incur medical and related expenses to his
 15

 16 damage in the amount of $10,000.

 17         40. As a direct and proximate result of the wrongful actions of SISON,
 18
      Plaintiff was unable to work for several months, and thereby lost wages in the amount
 19

 20 of $10,000.

 21         41. In acting as alleged in this complaint, SISON acted knowingly, willfully,
 22
      maliciously, oppressively, and with reckless disregard for Plaintiff’s safety and civil
 23

 24 rights. Plaintiff thereby seeks punitive and exemplary damages against SISON in the

 25 amount of $100,000.

 26

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  1                              THIRD CLAIM FOR RELIEF
  2
                         Violation of Bane Act (Cal. Civil Code § 52.1)
  3

  4
                                 (Against SISON and COUNTY)

  5         42. Plaintiff realleges each and every allegation contained in paragraphs
  6
      1through 5, 8, 9, 11, 13, 14, and 17, of this complaint as though set forth in full.
  7

  8         43. SISON interfered or attempted to interfere by threats, intimidation, or

  9 coercion with Plaintiff’s rights under state and federal laws and under the California

 10
      and Federal Constitutions, including the right to be free from excessive force, bodily
 11

 12 injury and punishment, without due process of law, including his rights under Cal.

 13 Civil Code § 43, Cal. Penal Code § 242, and his rights under the Fourteenth

 14
      Amendment to the United States Constitution, and under Article 1, section1 of the
 15

 16 California Constitution.

 17         44. SISON engaged in such despicable acts of threats, intimidation, and
 18
      coercion, when in breach of his oath to support and defend the Constitution of the
 19

 20 United States and the Constitution of the State of California, he pulled and twisted

 21 Plaintiff’s arms high behind Plaintiff’s back with great force while at the same time

 22
      pushing Plaintiff forward and downward to the floor, then came down hard with his
 23

 24 knees onto Plaintiff’s back, forcefully pushing his head and face to the floor, and

 25 breaking Plaintiff’s left arm in the process.

 26

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  1         45. As a direct and proximate result of the wrongful actions of SISON,
  2
      Plaintiff was injured in his health, strength, and activity, sustaining a fractured left
  3

  4
      arm, bruises, and contusions to his body, all of which caused him to suffer extreme

  5 physical and emotional pain, suffering and disability. As a result of these injuries,

  6
      Plaintiff has suffered, and in the future, will continue to suffer, general damages in the
  7

  8 amount of $300,000.

  9         46. As a direct and proximate result of the wrongful actions of SISON,
 10
      Plaintiff incurred, and in the future, will continue to incur medical and related
 11

 12 expenses to his damage in the amount of $10,000.

 13         47. As a direct and proximate result of the wrongful actions of SISON,
 14
      Plaintiff was unable to work for several months and thereby lost wages in the amount
 15

 16 of $10,000.

 17         48. In acting as alleged in this complaint, SISON acted knowingly, willfully,
 18
      maliciously, oppressively, and with reckless disregard for Plaintiff’s safety and civil
 19

 20 rights. Plaintiff thereby seeks punitive and exemplary damages against SISON in the

 21 amount of $100,000.

 22
            49. As a further direct and proximate result of the wrongful conduct of SISON,
 23

 24 Plaintiff has been compelled to incur attorney's fees and other litigation costs to

 25 vindicate the violation of his state and federal constitutional rights, and Plaintiff

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 27

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  1 thereby requests an award of attorney's fees pursuant to California Civil Code § 52.1

  2
      (h), according to proof.
  3

  4
                                    REQUEST FOR RELIEF

  5         WHEREFORE, Plaintiff demands judgment against Defendants, and each of
  6
      them, jointly and severally, as follows:
  7

  8         1. For general damages in the amount of $300,000;

  9         2. For medical and related expenses in the amount of $10,000;
 10
            3. For lost wages in the amount of $10,000;
 11

 12         4. For punitive and exemplary damages against SISON only, in the amount of

 13 $100,000;

 14
            5. For reasonable attorney’s fees, pursuant to 42 U.S.C. § 1988 and California
 15

 16 Civil Code § 51.2 (h), according to proof;

 17         6. For costs of suit herein incurred; and,
 18
            7. For such other and further relief as the Court deems just and proper.
 19

 20

 21                                              Respectfully submitted,
 22
                                                 GINEZ, STEINMETZ & ASSOCIATES
 23

 24                                              /s/ Rudy Ginez, Jr.
      Dated:       5/22/18
 25                                              Rudy Ginez, Jr.,
 26                                              Attorney for Plaintiff, Erick Rocha Parra
 27

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                                                    17
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  1                             DEMAND FOR JURY TRIAL
  2
           Plaintiff hereby demands a trial by jury.
  3

  4

  5                                          /s/ Rudy Ginez, Jr.
  6
      Dated:     5/22/18
                                             Rudy Ginez, Jr.,
  7                                          Attorney for Plaintiff, Erick Rocha Parra
  8

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